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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


DAVID SAMBRANO, individually and on
behalf of all others similarly situated, et al.,

                        Plaintiffs,

                v.                                 Civil Action No.: 4:21-01074-P

UNITED AIRLINES, INC.,

                        Defendant.




 PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR A TEMPORARY
   RESTRAINING ORDER AND IMMEDIATE PRELIMINARY INJUNCTION
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        Once again, United Airlines asks the Court to delay these proceedings to allow it more time

to coerce employees into abandoning their beliefs and risking their health. This would be

surprising if it hadn’t happened at every turn. But the Fifth Circuit has now confirmed that United

is not just exercising its reasonable business judgment—it is irreparably harming its employees.

Immediate action is necessary and available.

        Accordingly, after the Fifth Circuit confirmed this ongoing and irreparable harm, Plaintiffs

returned to this Court and asked that it take immediate action to prevent any further harm. See

Pls.’ Mot. for TRO & Immediate Entry of Prelim. Inj. (“Mot.”) (ECF No. 135). In its response,

United suggests that this Court cannot provide Plaintiffs with any relief now or ever. See United

Opp. (ECF No. 136). But each of United’s arguments falls short. Because this Court now has the

guidance from the Fifth Circuit that it requested (ECF No. 115 at 3–4), it should, at the very least,

enter a limited injunction pending the resolution of any en banc proceedings. If it does not, United

will be given license to continue irreparably harming its employees.

        First, as to jurisdiction, United’s right to seek en banc review says nothing about this

Court’s ability to enter a new temporary restraining order (“TRO”) or preliminary injunction based

on Plaintiffs’ new motion for a temporary restraining order or preliminary injunction. Whatever

the status of the first request for a preliminary injunction, which this Court denied, the Fifth Circuit

has no jurisdiction over a new motion for injunctive relief that this Court has never previously

addressed. That is precisely what has now occurred here. See Mot.

        United nevertheless argues (at 3) that the notice of appeal challenging the denial of the

original preliminary-injunction motion divests this Court of jurisdiction over any subsequent

requests for injunctive relief. Not so. To begin, it is black letter law that “[a] notice of appeal

from an interlocutory order does not produce a complete divestiture of the district court’s
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jurisdiction over the case[.]” Alice L. v. Dusek, 492 F.3d 563, 564 (5th Cir. 2007) (per curiam).

Instead, “it only divests the district court of jurisdiction over those aspects of the case on appeal.”

Id. But Plaintiffs’ new request for relief is not currently “on appeal,” and thus nothing precludes

this Court from granting Plaintiffs’ new request for injunctive relief.

        United’s argument is further mistaken because it ignores the fact that the Federal Rules of

Civil Procedure expressly permit a district court to grant injunctive relief after a notice of appeal

is filed. See Fed. R. Civ. P. 62(d) (“While an appeal is pending from an interlocutory order ...

that ... refuses . . . an injunction, the court may ... grant an injunction.”). The Federal Rules of

Appellate Procedure likewise provide for entry of an injunction, even after the filing of a notice

of appeal. Fed. R. App. P. 8(a)(1)(C) (“A party must ordinarily move first in the district court for

... an order ... granting an injunction while an appeal is pending”). In neither instance does the

rule provide that a district court is forever stripped of jurisdiction to issue injunctive relief until

after resolution of the appeal. Rather, the plain language of these rules emphasizes that a temporary

injunction can be entered while an appeal is pending. 1 This of course makes sense: it cannot be

that the possibility of eventual en banc review requires a party found to be irreparably harmed by

delay to withstand further delay while the en banc proceedings continue. That is exactly why the

Federal Rules afford district courts the authority to issue injunctions while the appellate process

continues, which is what Plaintiffs have requested here. See Mot. at 1 n.1.

        Accordingly, United’s jurisdictional argument fails. This Court maintains jurisdiction over

every aspect of this case other than the appeal of the previous denial of Plaintiffs’ first preliminary

injunction motion. That is of no moment with respect to Plaintiffs’ new request for an injunction,



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  Nevertheless, out of an abundance of caution, and to ensure that this Court is confident in its
jurisdiction, Plaintiffs are also filing a motion with the Fifth Circuit for immediate issuance of the
mandate.


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and it is certainly of no moment with respect to Plaintiffs’ new request for an injunction pending

resolution of any remaining appellate procedures.

        Second, United’s argument (at 4) that granting another TRO would be improper is

implausible on its face. United confuses extending a TRO with granting a new TRO. Federal Rule

of Civil Procedure 65(b)(2) addresses only the length of any TRO a court enters. It says nothing

about the number of TROs a court may issue during the pendency of a case. Rather, for well over

a century, it has been recognized that a temporary restraining order’s “life ceases with the

disposition of [a] motion” for a preliminary injunction. Houghton v. Cortelyou, 208 U.S. 149, 156

(1908). United, of course, knows this. When the TRO expired in this case, it was able to do what

it had wanted all along, namely place its employees on indefinite unpaid leave.

        Moreover, United’s characterization of the requested TRO as “improper” reflects the depth

of its misunderstanding. Rule 65 permits a TRO to be granted for 14 days, and to be extended by

a like amount. See Fed. R. Civ. P. 65(b)(2). But even then, Rule 65 does not provide that further

extensions are “improper,” as United suggests. See Budget Prepay v. AT&T Corp., 605 F.3d 273,

277 (5th Cir. 2010) (noting the district court’s multiple extensions of a TRO). Rather, additional

extensions of TROs are allowed, but they permit the enjoined party to seek appellate relief. On

this point, United again cites (at 4) Connell v. Dulien Steel Products, 240 F.2d 414 (5th Cir. 1957).2

But as Plaintiffs already demonstrated (ECF No. 89 at 5 n.4), Connell does not say, as United

suggests, that an extension of a TRO beyond 14 days is immediately appealable. Rather, it says

that “if a [TRO] is continued for a substantial length of time past the period permitted by



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  In fact, United’s Opposition curiously copies the authority it cited last October when opposing
Plaintiffs’ motion to extend the TRO. Compare Opp’n at 4, with ECF No. 87 at 6. The Court
rejected United’s misstatement of the law then (ECF No. 95 at 1), and it should do so again here.
United has cited no authority that prevents the Court from granting a TRO later during the lifecycle
of a case.


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Rule 65(b),” an appeal would be permitted. In any event, this authority is irrelevant here as

Plaintiffs have not asked the Court to extend a TRO; they ask the Court to enter new TRO. United

fails to identify authority providing that the Court cannot do so.

       Third, United is simply wrong to suggest (at 5) that this Court already “issued an Order

staying these proceedings.” The Court’s Order (ECF No. 128), by its own terms, stayed only the

then-pending deadlines: “[A]ll other deadlines in this proceeding are STAYED pending resolution

of the ongoing appeal.” Indeed, as the Court correctly noted in its order, “Plaintiffs’ Motion

requests that ‘the Court stay all pending district court deadlines.’” Id. (emphasis added). There is

accordingly no need for Plaintiffs to request that this Court first lift the stay of pending filing

deadlines.

       Fourth, United’s attempt (at 5) to avoid injunctive relief by suggesting that it has offered

alternative employment to certain employees is not only based on inaccurate factual allegations

(as Plaintiffs will explain at the appropriate time), but is also based on an improper attempt to pick

off the named plaintiffs to prevent class certification. As Plaintiffs have already demonstrated,

that tactic cannot avoid class certification. See ECF No. 134. Indeed, the Fifth Circuit has long

recognized “the dangers of allowing a defendant to ‘pick off’ class representatives” to “preclude a

viable class action from ever reaching the certification stage.” Sandoz v. Cingular Wireless LLC,

553 F.3d 913, 920 (5th Cir. 2008) (second quotation quoting Zeidman v. J. Ray McDermott &

Co., 651 F.2d 1030, 1050 (5th Cir. Unit A July 1981)). Although those cases dealt with attempts

to moot an issue through a Rule 68 offer of judgment, the same principles apply to United’s clear

attempt to preclude a finding of irreparable harm by trying to tweak the facts on the ground

whenever its lawlessness becomes evident.




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        In any event, it is well established that “cessation of illegal activity does not ipso facto

justify the denial of an injunction.” S.E.C. v. Mgmt. Dynamics, Inc., 515 F.2d 801, 807 (2d Cir.

1975). Both the Supreme Court and the Fifth Circuit have so held. United States v. Parke, Davis

& Co., 362 U.S. 29, 48–49 (1960) (holding that a “trial court’s wide discretion in fashioning

remedies is not to be exercised to deny relief altogether by lightly inferring an abandonment of the

unlawful activities from a cessation which seems timed to anticipate suit” and instructing a district

court to enter an injunction against “further violations”); Doe v. Duncanville Indep. Sch. Dist., 994

F.2d 160, 166 (5th Cir. 1993) (Smith, J.) (holding that a party’s “voluntary cessation of its allegedly

violative religious practices does not preclude a finding of irreparable injury”); see also Boyd v.

Adams, 513 F.2d 83, 89 (7th Cir. 1975) (“The propriety of injunctive relief cannot be foreclosed

by a promise to discontinue what has been an established pattern of wrongdoing.”); Lyons P’ship,

L.P. v. Morris Costumes, Inc., 243 F.3d 789, 800–01 (4th Cir. 2001) (same). In short, any changed

facts stemming from United’s “unilateral action[s]” are irrelevant here. Sandoz, 553 F.3d at 920.

        Fifth, though United is correct (at 6) that Judge Smith directly evaluated the other

preliminary injunction factors (as did Judge Ho when he concluded that he “would grant the

injunction pending appeal,” Sambrano v. United, 19 F.4th 839, 842 (5th Cir. 2021) (Ho, J.,

dissenting)), the panel rejected Judge Smith’s evaluation expressly and thoroughly, finding that

his dissent “ignore[d] … fact[s].” Sambrano v. United Airlines, 2022 WL 486610, at *3 n.5 (5th

Cir. Feb. 17, 2022). Rather, the panel concluded, “the better course is to allow the district court to

consider the other factors in the first instance.” Id. at *9 n.17. That is all that Plaintiffs are asking

the Court to do here—to exercise its discretion and find that, in addition to showing that they are

irreparably harmed under the legal analysis now adopted by the Fifth Circuit, Plaintiffs have




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demonstrated each of the other preliminary injunction factors. Indeed, Plaintiffs’ Motion

addressed each such factor. See Mot.

        The record before this Court is sufficient to make such a finding, particularly given that

this Court has already suggested (1) that “United’s actions may not have been motivated by safety

concerns” and (2) that “United’s actions may be viewed as merely pretextual.” Order at 15 (ECF

No. 104). It is difficult to imagine finding that the balance of the equities or that the public interest

favors United if this Court adheres to its apparent view that United’s safety concerns are but

pretext. Likewise, if the interests are only pretextual, United can show no undue hardship from

offering Plaintiffs a reasonable accommodation. Accordingly, this Court should now analyze each

of the other factors and enter an injunction.

        Sixth, United’s tired argument (at 6–7) that classwide relief is improper pending class

certification is as wrong now as it has always been. As Plaintiffs explained in October, a “court

may issue a classwide preliminary injunction in a putative class action suit prior to a ruling on the

class certification motion or in conjunction with it.” ECF No. 64 at 4 (quoting Newberg on Class

Actions § 4:30 (5th ed. June 2021 update)). Indeed, “courts routinely issue preliminary injunctions

concurrently with certifying a class or even prior to fully certifying a class.” ECF No. 101 at 3

(collecting cases). United offers nothing new here. Furthermore, United’s suggestion that the

“nature of the coercive injury” makes it “improper to grant relief to absent class members” finds

no support in the caselaw. The Fifth Circuit has now held that being placed to the “coercive

choice” of a jab or one’s job imposes irreparable injury, and all United employees put to that choice

are being irreparably harmed even now.

        United’s renewed objection (at 7) to this Court exercising “personal jurisdiction over …

absent class members” fares no better, as United still has no answer to the fact that the only circuits




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to squarely address the applicability of Bristol-Myers Squibb Co. v. Superior Court of Cal., 137 S.

Ct. 1773 (2017), have agreed with Plaintiffs. See ECF No. 55 at 2, 10–11. 3 In the months since,

two circuits have mentioned the issue without deciding it. Hood v. Am. Auto Care, LLC, 21 F.4th

1216, 1228 (10th Cir. 2021); Waters v. Day & Zimmermann NPS, Inc., 23 F.4th 84, 99 n.15 (1st

Cir. 2022). But the fact remains that there is currently no split on whether courts can exercise

personal jurisdiction over the claims of absent class members. They can. Mussat v. IQVIA, Inc.,

953 F.3d 441, 446 (7th Cir. 2020), cert. denied 141 S. Ct 1126 (2021); Lyngaas v. Curaden AG,

992 F.3d 412, 435 (6th Cir. 2021).

                                          *       *       *

        Every day that this Court waits to enter an injunction, United employees on indefinite

unpaid leave are irreparably harmed. And that harm continues through United’s obvious attempts

to evade an injunction because United can change course at any time. Because the law is clear that

unilaterally changed facts do not moot irreparable harm, and because there are no other legal

barriers to this Court’s entering an injunction, the motion should be granted to provide immediate

injunctive relief pending further proceedings in the Fifth Circuit or this Court, or both.

February 21, 2022                                     Respectfully submitted,
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  Moreover, the Supreme Court denied certiorari in one of the cases asking it to adopt United’s
flawed personal-jurisdiction argument. IQVIA Inc. v. Mussat, 141 S. Ct. 1126 (2021) (mem.)
(denying certiorari).


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                                CERTIFICATE OF SERVICE

       On February 21, 2022, I filed the foregoing document with the clerk of court for the United

States District Court, Northern District of Texas. I hereby certify that I have served the document

on all counsel and/or pro se parties of record by a manner authorized by Federal Rule of Civil

Procedure 5(b)(2) (ECF System).


                                                     /s/ Gene C. Schaerr
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